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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                     )   Chapter 11
    In re:                                                           )
                                                                     )   Case No. 23-90054 (CML)
    IEH AUTO PARTS HOLDING LLC, et al.,1                             )
                                                                     )   (Jointly Administered)
                                       Debtors.                      )
                                                                     )   Re: Docket No. 183

                                   CERTIFICATE OF NO OBJECTION

             Pursuant to the Procedures for Complex Chapter 11 Cases in the Southern District of

Texas, the undersigned proposed counsel for the above-captioned debtors (collectively,

the “Debtors”) certifies as follows:

             1.    On March 2, 2023, the Debtors filed the Debtors’ Application to Retain The Law

Office of Liz Freeman, PLLC as Co-Counsel and Conflicts Counsel for the Debtors and Debtors

In Possession [Docket No. 183] (the “Application”).

             2.    The deadline for parties to file an objection to the relief requested in the Application

was March 23, 2023 (the “Objection Deadline”). No objections were filed on the docket on or

before the Objection Deadline. Proposed counsel to the Debtors did not receive any informal

responses on or before the Objection Deadline.

             3.    The Debtors request that the Court enter the attached proposed order at the earliest

convenience of the Court.



1
      The Debtor entities in these chapter 11 cases, along with the last four digits of each Debtor entity’s federal tax
      identification number, are: IEH Auto Parts Holding LLC (6529); AP Acquisition Company Clark LLC (4531);
      AP Acquisition Company Gordon LLC (5666); AP Acquisition Company Massachusetts LLC (7581);
      AP Acquisition Company Missouri LLC (7840); AP Acquisition Company New York LLC (7361); AP
      Acquisition Company North Carolina LLC (N/A); AP Acquisition Company Washington LLC (2773); Auto Plus
      Auto Sales LLC (6921); IEH AIM LLC (2233); IEH Auto Parts LLC (2066); IEH Auto Parts Puerto Rico, Inc.
      (4539); and IEH BA LLC (1428). The Debtors’ service address is: 112 Townpark Drive NW, Suite 300,
      Kennesaw, GA 30144.
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Houston, Texas
Dated: March 24, 2023

                                         /s/ Elizabeth C. Freeman
                                         LAW OFFICE OF LIZ FREEMAN
                                         Elizabeth C. Freeman (TX Bar No. 24009222)
                                         PO Box 61209
                                         Houston, TX 77208-1209
                                         Telephone: (832) 779-3580
                                         Email: liz@lizfreemanlaw.com

                                         Proposed Co-Counsel and Conflicts Counsel
                                         for the Debtors




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                                    Certificate of Service

        I certify that on March 24, 2023 I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                     /s/ Elizabeth C. Freeman
                                                     Elizabeth C. Freeman
